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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


MARIO CESPEDES,

                       Plaintiff,

v.                                                              Case No: 6:19-cv-690-Orl-41DCI

CARIBBEAN SUPERCENTER, INC.,

                       Defendant.
                                              /

                                              ORDER

       THIS CAUSE is before the Court on Plaintiffs’ Unopposed Renewed Motion for Approval

of FLSA Settlement Agreements (Doc. 12). United States Magistrate Judge Daniel C. Irick issued

a Report and Recommendation (“R&R,” Doc. 13) , in which he recommends granting the Motion

and finding the Agreements, (Doc. 12-1), to be fair and reasonable settlements of Plaintiffs’ claims

under the FLSA. (See generally Doc. 13). Plaintiffs filed a Notice of Non-Objection (Doc. 14) to

the R&R. Defendant has not appeared in this matter, but has been properly served, is represented

by counsel, and has participated in the settlement of this case. (Id. at 13; Doc. 12 at 3–6).

       After a de novo review of the record, this Court agrees entirely with the analysis in the

R&R. Therefore, it is ORDERED and ADJUDGED as follows:

           1. The Report and Recommendation (Doc. 13) is ADOPTED and CONFIRMED and

               made a part of this Order.

           2. Plaintiffs’ Unopposed Renewed Motion for Approval of FLSA Settlement

               Agreements (Doc. 12) is GRANTED.

           3. The Settlement Agreement is APPROVED.

           4. The Clerk is directed to close this case.



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       DONE and ORDERED in Orlando, Florida on August 13, 2019.




Copies furnished to:

Counsel of Record




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